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                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

  IN RE:                                        §
                                                §
  ANSON FINANCIAL, INC.,                        §               CASE NO. 21-41517
                                                §
         DEBTOR.                                §

       CERTIFICATE OF NO OBJECTION REGARDING MOTION OF
       DEBTOR TO APPROVE SETTLEMENT AGREEMENT WITH
       STERLING BATES (RE: DOCKET NO. 259)

        The undersigned certifies that as of the filing of this certificate that no responses,
objections, and/or requests for hearing with respect to the Motion of Debtor to Approve
Settlement Agreement with Sterling Bates (Docket No. 259) filed herein by Anson Financial,
Inc., debtor and debtor in possession (“Anson” or the “Debtor”) on March 9, 2022, have been
filed on the docket of this case or otherwise received by the undersigned. The response deadline
was March 30, 2022.
Dated: April 7, 2022                  Respectfully submitted:

                                       WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                       By:       /s/ Jeff Carruth
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                                       ATTORNEYS FOR
                                       ANSON FINANCIAL, INC.
                                       DEBTOR AND DEBTOR IN POSSESSION




CERTIFICATE OF NO RESPONSE — Page 1                                                2123313.DOCX
